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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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MARY GERMAINE CRON

                                  Petitioner

         v.                                        06-CR-506

THE UNITED STATES OF AMERICA,

                                  Respondent.

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THOMAS J. McAVOY
Senior United States District Judge

                                  DECISION and ORDER

         On June 13, 2007, Petitioner Mary Cron pled guilty to Conspiracy to Possess with

Intent to Distribute and to Distribute Methamphetamine, in violation of 21 U.S.C. § § 841 and

846. On November 26, 2007, the Court sentenced Petitioner to 84 months imprisonment.

On June 13, 2008, Petitioner requested that the Court provide her with the transcripts of her

plea and sentencing hearings. Petitioner also submitted an in forma pauperis application.

I. IN FORMA PAUPERIS APPLICATION

         To proceed in forma pauperis, the applicant must submit an affidavit listing all

assets and declaring that the she is unable to pay the filing fees. 28 U.S.C. § 1915(a)(1). To

be unable to pay these fees means that paying such fees would constitute a serious hardship

on the applicant. Adkins v. E.I. DuPont de Nemours & Co., 335 U.S. 331, 339 (1948).

         Here, Cron’s affidavit is contained in her application. She states that she has not

received any income in the past twelve months other than the 23 cents/hour she earns in the

Danbury Federal Correctional Institution. Application, at 1. She also has $33.90 in her
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prison account. Id. at 2. Otherwise, Petitioner attests that she does not own anything of

value. Id.

          Given these statements, the Court finds that payment of the filing fee would cause

a substantial financial hardship to Petitioner. The Court finds that Petitioner sufficiently

attested to her financial assets and demonstrated that due to her poverty, she is eligible to

proceed in forma pauperis. Therefore, Petitioner may proceed without paying fees for her

appeal.

II. TRANSCRIPT REQUEST

          Petitioner intends to bring an ineffective assistance of counsel claim, presumably

under 28 U.S.C. § 2255. See Application to Proceed In Forma Pauperis, at 1. Petitioners

who submit a Section 2255 motion in forma pauperis shall be furnished free transcripts if the

Court certifies that the suit is: (1) “not frivolous” and (2) “that the transcript is needed to

decide the issue presented.” 28 U.S.C. § 735(f).

          The requirements for free trial transcript requests are distinct from the requirements

for in forma pauperis applications. Linden v. Harper & Row, Inc., 467 F. Supp. 556, 558

(S.D.N.Y. 1979). It has been held that petitioners proceeding in forma pauperis will not be

provided transcripts at public expense prior to an appeal. Toliver v. Community Action

Commission to Help the Economy, Inc., 613 F. Supp. 1070, 1072 n.3 (S.D.N.Y. 1985); see

also United States v. Horavath, 157 F.3d 131, 132 (2d Cir. 1998) (denying motion for free

transcript as frivolous because it is not ripe until the motion has been filed). It likewise

follows that a transcript is not needed to decide an issue until it is presented.

          Here, Petitioner has not filed a Section 2255 motion challenging her conviction or

sentence. Without knowing the basis for her Section 2255 motion and, thus, whether it is

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frivolous or the transcripts are necessary for her motion, Petitioner’s Section 753(f) motion is

DENIED without prejudice as premature.

IT IS SO ORDERED.



Dated:    July 8, 2008




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